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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA,

10   EDWARD DON BROWN,

11                  Petitioner,                    No. CIV-S-05-1195 LKK DAD P

12          vs.

13   WARDEN YATES,                                 FINDINGS AND RECOMMENDATIONS

14                  Respondent.

15                                           /

16                  Petitioner is a state prisoner proceeding with an application for writ of habeas

17   corpus under 28 U.S.C. § 2254. On June 18, 2001, in the Butte County Superior Court,

18   petitioner through his trial counsel entered a dual plea of not guilty and not guilty by reason of

19   insanity to the charges set forth in an amended information. (Reporter’s Transcript on Appeal

20   (RT-I1) at 6.) On April 11, 2002, petitioner withdrew his previously entered plea and entered

21   pleas of no contest to assault with a firearm on a police officer, kidnapping, first degree robbery,

22   and resisting an officer. (RT-II at 6.) With sentencing enhancements for causing great bodily

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24          1
               Respondent has lodged with this court two transcripts, both entitled “Reporter’s
     Transcript on Appeal - One Volume.” The first such transcript is of proceedings conducted in
25   the Butte County Superior Court on June 18 and August 27, 2001 and will be referred to herein
     as “RT-I.” The second such transcript is of proceedings conducted in that same court on April 11
26   and June 24, 2002 and will be referred to herein as “RT-II.”

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 1   injury and intentional use of a firearm causing great bodily injury, petitioner was sentenced to an

 2   aggregate term of 49 years in state prison. (RT-II at 23-25.) On appeal, the California Court of

 3   Appeal for the Third Appellate District modified the judgment due to sentencing error, thereby

 4   reducing petitioner’s sentence to a total aggregate term of 36 years and four months. (Resp’t

 5   Lodged Doc. 4, Opinion at 3-6.) As modified, petitioner’s judgment of conviction was affirmed.

 6   (Id. at 7.)

 7                  Petitioner seeks federal habeas relief on the grounds that: (1) he was denied the

 8   effective assistance of counsel when his attorney failed to raise the issue of petitioner’s

 9   developmental disability and its impact on his competency to stand trial; (2) the trial court failed

10   to “personally” take a voluntary and intelligent waiver of his right to a trial in violation of his due

11   process rights; and (3) he was denied effective assistance of appellate counsel when his attorney

12   on appeal failed to raise potentially meritorious constitutional claims. Upon careful

13   consideration of the record and the applicable law, the undersigned will recommend that

14   petitioner’s application for habeas corpus relief be denied.

15                          FACTUAL AND PROCEDURAL BACKGROUND

16                  Because there was no trial and the issues on appeal were limited to claims of

17   sentencing error, the following factual summary of the events of September 24, 2000, is taken

18   from the presentence report prepared in petitioner’s case.2

19                  The victim stated that he was employed as a driver by American
                    Taxi. He responded to an apartment complex to pick up a fare,
20                  however, he was unable to locate the fare. While leaving, he was
                    flagged down by [petitioner], who requested transportation. The
21                  [petitioner] entered the vehicle and sat in the middle of the rear
                    seat. The [petitioner] introduced himself as “Mike” and said he
22                  was intoxicated. The [petitioner] requested to be transported to a
                    residence on Hicks Lane, although he did not know the specific
23                  address and did not have any money to pay for transportation. The
                    victim stopped the vehicle to talk to the [petitioner] when he
24                  noticed the [petitioner] had a short-barreled shotgun in his hand.

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             2
              The parties do not dispute these facts and petitioner submitted the presentence report as
26   an exhibit to his federal petition. See Pet., Ex. B; Answer at 6-10.

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 1                 The [petitioner] instructed the victim to drive to Hicks Lane and
                   stated that he would then decide if he was going to take the
 2                 victim’s money or not. The victim continued to drive and
                   attempted to signal another taxi cab driver that he needed help.
 3                 However, his efforts were unsuccessful. The [petitioner] told the
                   victim not to make any kind of signal to any other drivers.
 4
                   The victim said he feared for his life and decided he would escape
 5                 from the vehicle when he stopped for a red traffic signal light.
                   When he stopped, he grabbed his bag of receipts and cash
 6                 ($242.00), opened the driver’s side door, felt and heard the shotgun
                   blast, stepped out of the vehicle, and began emptying his pockets.
 7                 The victim thought if the [petitioner] was going to rob him, he
                   might as well make it easier and perhaps the [petitioner] would not
 8                 shoot him again. The victim said he began to run towards the
                   Enloe [hospital] outpatient building. He heard the [petitioner] exit
 9                 the vehicle and run behind him for a short while. The [petitioner]
                   then returned to the vehicle and drove away. The victim said he
10                 returned to collect his bag of receipts and cash. He then saw
                   Lynetta D. in her vehicle, so he ran to her for help and she
11                 transported him to the hospital.

12                                                 ***

13                 . . . Officers then received notice of a traffic collision on Manzanita
                   Avenue in front of Hooker Oak Park. Officers located the missing
14                 taxicab. The engine was running although there were no
                   occupants. The officers were advised that the [petitioner] might be
15                 armed with a weapon.

16                 The officer advised dispatch of the events. A few minutes later,
                   another CPD officer located the [petitioner] in the Hooker Oak
17                 Park Recreation Area parking lot. The officers noted the
                   [petitioner] was armed with a bolt-action sawed-off shotgun.
18                 While additional officers were responding, the [petitioner] waived
                   [sic] the shotgun around. In response, the officers told the
19                 [petitioner] to put the gun down several times however, the
                   [petitioner] continued to wave the gun around while yelling “Fuck
20                 you, cops. Go ahead and shoot me.” The [petitioner] then lowered
                   the gun to a shooting position and took aim. The officer was
21                 forced to shoot the [petitioner].

22                                                 ***

23                 While at the hospital, a medical staff member provided the officer
                   with blood test results. The officer noted the [petitioner] tested
24                 positive for methamphetamine, marijuana, and alcohol.

25                                                 ***

26   /////

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 1                   The officers then proceeded to [petitioner’s] hospital room. As
                     they walked into the room, [petitioner] said, “Where is my lawyer?
 2                   Just so you know I ain’t answering any questions without my
                     lawyer.[”] An officer advised [petitioner] he was under arrest. As
 3                   the officer advised the [petitioner] of his Miranda Rights, the
                     [petitioner] began to recite the Miranda Warning and then said “the
 4                   voices, they wouldn’t fucking stop.” He said the “voices” had been
                     talking to him all week long and making him feel “shitty” about
 5                   everything. The voices were telling him to hurt himself. He then
                     said “they are just going to stick me in a mental institution, I’m
 6                   cool but I’d rather go to jail.”

 7   (Clerk’s Transcript on Appeal (CT) at 150-56.)

 8                   Immediately following petitioner’s entry of his dual plea of not guilty and not

 9   guilty by reason of insanity on June 18, 2001, the Butte County Superior Court ordered a

10   psychiatric evaluation to be conducted by a board certified psychiatrist, Dr. Lancaster.3 (CT at

11   112-13.) The evaluation was to determine whether petitioner was insane at the time of the

12   charged offenses and whether he was competent to stand trial. (Id.) On August 6, 2001, Dr.

13

14          3
                In this regard, California Penal Code § 1026(a) states in relevant part:
15                   When a defendant pleads not guilty by reason of insanity, and also
                     joins with it another plea or pleas, the defendant shall first be tried
16                   as if only such other plea or pleas had been entered, and in that trial
                     the defendant shall be conclusively presumed to have been sane at
17                   the time the offense is alleged to have been committed. If the jury
                     shall find the defendant guilty, or if the defendant pleads only not
18                   guilty by reason of insanity, then the question whether the
                     defendant was sane or insane at the time the offense was
19                   committed shall be promptly tried, either before the same jury or
                     before a new jury in the discretion of the court. In that trial, the
20                   jury shall return a verdict either that the defendant was sane at the
                     time the offense was committed or was insane at the time the
21                   offense was committed. If the verdict or finding is that the
                     defendant was sane at the time the offense was committed, the
22                   court shall sentence the defendant as provided by law. If the
                     verdict or finding be that the defendant was insane at the time the
23                   offense was committed, the court, unless it shall appear to the court
                     that the sanity of the defendant has been recovered fully, shall
24                   direct that the defendant be confined in a state hospital for the care
                     and treatment of the mentally disordered or any other appropriate
25                   public or private treatment facility approved by the community
                     program director, or the court may order the defendant placed on
26                   outpatient status.

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 1   Lancaster submitted his report reflecting his opinion that petitioner was sane at the time of the

 2   charged offenses and needed no psychiatric treatment or medications because he did not suffer

 3   from mental illness, either in the past or on the date the report was authored. (CT at 119.) On

 4   August 27, 2001, the trial court ordered another independent evaluation of petitioner by a

 5   licensed psychologist and qualified medical examiner, Dr. Wuehler. (RT-I at 8.) The court also

 6   requested that Dr. Lancaster prepare a supplemental report to further clarify whether or not, in

 7   Dr. Lancaster’s opinion, petitioner was insane at the time of the crime. (CT at 121-22.) On

 8   October 2, 2001, the trial court received Dr. Wuehler’s report and on October 10, 2001 received

 9   the supplemental report of Dr. Lancaster. (CT at 123-24.) Both doctors concluded that petitioner

10   was sane at the time the offenses were committed and capable of understanding the nature of his

11   actions and of distinguishing right from wrong. (CT at 119, 123 & 136.) In his report Dr.

12   Wuehler also specifically found that petitioner was capable of assisting his attorney with his

13   defense. (CT at 132.)

14                  On April 11, 2002, trial counsel appeared with petitioner in the Butte County

15   Superior Court and advised the trial judge that he and petitioner had met that morning to discuss

16   a proposed plea agreement. (RT-II at 1.) Trial counsel informed the court, in petitioner’s

17   presence, that petitioner had agreed to plead no contest to assault with a firearm, kidnapping, first

18   degree robbery, and resisting an officer. (Id.)4 The trial court indicated it would allow petitioner

19   to withdraw his not guilty and not guilty be reason of insanity pleas in order to accept this plea

20   agreement with the prosecution. (Id. at 6.) The court was provided with a completed entry of

21   plea form executed by petitioner in which petitioner indicated that he understood the nature of

22   the charges, the consequences of his plea and his constitutional rights. (CT at 140-44.) In

23   addition, the trial court engaged in an abbreviated plea colloquy with petitioner in open court to

24   ensure that petitioner understood the plea agreement in his case, the possible consequences of his

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              When the plea was taken petitioner also admitted the enhancement allegations of
26   causing great bodily injury and using a firearm causing great bodily injury. (RT-II at 3, 8-9.)

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 1   plea and that the plea was being freely and voluntarily made. (RT-II at 6-10.) In accepting

 2   petitioner’s plea, the court found that petitioner had voluntarily and intelligently waived his

 3   constitutional rights, that his pleas and admissions were freely and voluntarily made and that

 4   there was a factual basis for those pleas and admissions. (CT at 144; RT-II at 10.)

 5                  After petitioner’s plea was entered, trial counsel requested that the court review

 6   the preliminary hearing transcript prior to sentencing to better understand petitioner’s history and

 7   personal background. (RT-II at 11.) Trial counsel acknowledged that his client had previously

 8   entered a dual plea of not guilty and not guilty by reason of insanity and had a history of mental

 9   health problems. (Id.) Nonetheless, counsel stated that in light of the psychiatric evaluations

10   from Dr. Lancaster and Dr. Wuehler, it was counsel’s evaluation that petitioner’s mental health

11   problems would not serve to be an effective defense to the charges pending against him and that

12   those charges posed the potential imposition of two life sentences. (Id.) Based on the foregoing,

13   the facts of the case and their discussions, trial counsel informed the court that petitioner had

14   decided to accept the plea offer of a determinate term sentence which was substantially better

15   than the prosecution’s original plea offer of 28 years-to-life. (RT-II at 11-12.) Finally, counsel

16   acknowledged that with this plea, petitioner would be legally eligible for parole upon completion

17   of his sentence. (Id.)

18                  As noted above, on June 24, 2002, petitioner was sentenced to 49 years in state

19   prison. (RT at 23-25.) On January 14, 2003, he appealed from his judgment of conviction only

20   on the ground of sentencing error. (See Resp’t Lodged Doc. 1, Appellant’s Opening Br. on

21   Appeal.) On October 31, 2003, the California Court of Appeal for the Third Appellate District

22   modified the judgment thereby reducing petitioner’s sentence to a total aggregate term of 36

23   years and four months due to sentencing error. (Resp’t Lodged Doc. 4, Opinion at 3-6.) As

24   modified, petitioner’s judgment of conviction was otherwise affirmed. (Id. at 7.)

25                  On November 14, 2003, petitioner filed a petition for writ of habeas corpus in the

26   Butte County Superior Court alleging that he received ineffective assistance of trial counsel, the

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 1   trial court erred by failing to “personally” take a voluntary and intelligent waiver of his right to

 2   trial in violation of his due process rights and that he received ineffective assistance of appellate

 3   counsel when his counsel failed to raise potentially meritorious constitutional claims on appeal.

 4   (See Resp’t Lodged Doc. 5.) On January 5, 2004, the Butte County Superior Court issued a form

 5   order denying the writ. (Resp’t Lodged Doc. 6 at 1.) The form order had boxes checked

 6   indicating that the denial was because:

 7                  The vague, unsupported, and conclusionary allegations contained
                    in the petition are insufficient to allow for intelligent consideration
 8                  of the issues which petitioner has attempted to raise. (In re Swain
                    (1949) 34 Cal.2D 300; In re Patton, 1918) [sic] 178 Cal. 629).
 9
                    Petitioner has failed to establish a prima facie case for relief on
10                  habeas corpus (In re Lawler, Cal. 3rd 190, 194).

11   Id.

12                  On February 5, 2004, petitioner filed a petition for writ of habeas corpus with the

13   California Court of Appeal for the Third Appellate District presenting the same issues he had

14   presented to the Butte County Superior Court. (Resp’t Lodged Doc. 7.) That petition was

15   summarily denied on February 26, 2004. (Resp’t Lodged Doc. 8.) On April 12, 2004, petitioner

16   filed a petition for writ of habeas corpus presenting the same issues in the California Supreme

17   Court. (Resp’t Lodged Doc. 9.) That petition was summarily denied on March 2, 2005. (Resp’t

18   Lodged Doc. 10.) On June 15, 2005, petitioner filed his federal petition for writ of habeas corpus

19   with this court.

20                                                ANALYSIS

21   I. Standards of Review Applicable to Habeas Corpus Claims

22                  A writ of habeas corpus is available under 28 U.S.C. § 2254 only on the basis of

23   some transgression of federal law binding on the state courts. See Peltier v. Wright, 15 F.3d 860,

24   861 (9th Cir. 1993); Middleton v. Cupp, 768 F.2d 1083, 1085 (9th Cir. 1985) (citing Engle v.

25   Isaac, 456 U.S. 107, 119 (1982)). A federal writ is not available for alleged error in the

26   interpretation or application of state law. See Estelle v. McGuire, 502 U.S. 62, 67-68 (1991);

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 1   Park v. California, 202 F.3d 1146, 1149 (9th Cir. 2000); Middleton, 768 F.2d at 1085. Habeas

 2   corpus cannot be utilized to try state issues de novo. Milton v. Wainwright, 407 U.S. 371, 377

 3   (1972).

 4                  This action is governed by the Antiterrorism and Effective Death Penalty Act of

 5   1996 (“AEDPA”). See Lindh v. Murphy, 521 U.S. 320, 336 (1997); Clark v. Murphy, 331 F.3d

 6   1062, 1067 (9th Cir. 2003). Section 2254(d) sets forth the following standards for granting

 7   habeas corpus relief:

 8                          An application for a writ of habeas corpus on behalf of a
                    person in custody pursuant to the judgment of a State court shall
 9                  not be granted with respect to any claim that was adjudicated on
                    the merits in State court proceedings unless the adjudication of the
10                  claim -

11                         (1) resulted in a decision that was contrary to, or involved
                    an unreasonable application of, clearly established Federal law, as
12                  determined by the Supreme Court of the United States; or

13                          (2) resulted in a decision that was based on an unreasonable
                    determination of the facts in light of the evidence presented in the
14                  State court proceeding.

15   See also Penry v. Johnson, 532 U.S. 782, 792-93 (2001); Williams v. Taylor, 529 U.S. 362

16   (2000); Lockhart v. Terhune, 250 F.3d 1223, 1229 (9th Cir. 2001).

17                  The court looks to the last reasoned state court decision as the basis for the state

18   court judgment. Robinson v. Ignacio, 360 F.3d 1044, 1055 (9th Cir. 2004). Where the state

19   court reaches a decision on the merits but provides no reasoning to support its conclusion, a

20   federal habeas court independently reviews the record to determine whether habeas corpus relief

21   is available under section 2254(d). Himes v. Thompson, 336 F.3d 848, 853 (9th Cir. 2003);

22   Delgado v. Lewis, 223 F.3d 976, 982 (9th Cir. 2000). When it is clear that a state court has not

23   reached the merits of a petitioner’s claim, or has denied the claim on procedural grounds, the

24   AEDPA’s deferential standard does not apply and a federal habeas court must review the claim

25   de novo. Nulph v. Cook, 333 F.3d 1052, 1056 (9th Cir. 2003); Pirtle v. Morgan, 313 F.3d 1160,

26   1167 (9th Cir. 2002).

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 1                   As noted, the Butte County Superior Court denied petitioner habeas relief in

 2   reliance on the decision in In re Swain, finding that the allegations of the petition were

 3   insufficient to allow for consideration of the issues presented. Nonetheless, respondent concedes

 4   that petitioner’s claims were properly presented in state court for purposes of the exhaustion

 5   requirement and that because the state court did not issue a decision on the merits, the correct

 6   standard to be employed by this court is de novo review. (Answer at 11.)

 7   II. Petitioner’s Claims

 8            1. Ineffective Assistance of Trial Counsel

 9                   First, petitioner asserts that his trial counsel rendered ineffective assistance by

10   failing to adequately investigate and raise the issue of petitioner’s developmental disability in

11   order to determine his competency to stand trial. (Pet. at 5, 5(a), 5(b).)

12                   As a general rule, a petitioner may not raise claims of deprivation of his

13   constitutional rights that occurred prior to his guilty plea. “When a criminal defendant has

14   solemnly admitted in open court that he is in fact guilty of the offense with which he is charged,

15   he may not thereafter raise independent claims relating to the deprivation of constitutional rights

16   that occurred prior to the entry of the guilty plea.” Tollett v. Henderson, 411 U.S. 258, 267

17   (1973). See also Ortberg v. Moody, 961 F.2d 135, 137 (9th Cir. 1992) (“petitioner’s nolo

18   contendere plea precludes him from challenging alleged constitutional violations that occurred

19   prior to the entry of that plea”); Hudson v. Moran, 760 F.2d 1027, 1029-30 (9th Cir. 1985)

20   (voluntary and intelligent guilty plea precludes federal habeas relief based upon “independent

21   claims” of pre-plea constitutional violations); Hodge v. Carey, No. Civ. S 04-0617 MCE DAD P,

22   2006 WL 236932, *5 (E.D. Cal. Jan. 31, 2006) (when he entered a no contest plea petitioner

23   waived ineffective assistance of counsel claim based upon his counsel’s advice to enter into a

24   plea agreement). Petitioner therefore waived these ineffective assistance of counsel claims when

25   he chose to enter his no contest plea pursuant to the plea agreement reached with the prosecution.

26   /////

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 1                  However, petitioner has not waived his claim to the extent he is attacking the

 2   voluntary and intelligent character of his no contest plea. See Tollett, 411 U.S. at 266-67;

 3   Hudson, 760 F.2d at 1030; Hodge, 2006 WL 236932 at *5. Here, petitioner alleges that his

 4   mental and personal history was admittedly known by his trial counsel but not proffered to the

 5   Court. Petitioner claims that if counsel had done so the trial court would have become concerned

 6   that petitioner suffered from a developmental disability, thus triggering an examination by a

 7   court-appointed director of the regional center for the developmentally disabled under California

 8   Penal Code § 1369.5 (Pet. at 5, 5(a), 5(b).) In other words, petitioner argues, if he was

 9   developmentally disabled he could not have given a voluntary and intelligent plea. Although no

10   evidence has been presented by petitioner that any party to his hearings found him incompetent to

11   enter a plea at the time he did so, petitioner is attacking the voluntary and intelligent nature of his

12   guilty plea and therefore his ineffective assistance of counsel claim, which occurred prior to his

13   plea, may be considered.

14                  In order to demonstrate ineffective assistance of counsel in the context of a

15   challenge to a guilty plea, the petitioner must show that counsel’s advice fell below an objective

16   standard of reasonableness as well as a reasonable probability that, but for counsel’s errors, he

17   would not have plead guilty and would have insisted on going to trial. Hill v. Lockhart, 474 U.S.

18
            5
                California Penal Code § 1369 provides for the court appointment of a psychiatrist or
19   licensed psychologist to examine a defendant in a criminal case to evaluate the nature of the
     defendant's mental disorder, if any, the defendant's ability or inability to understand the nature of
20   the criminal proceedings or assist counsel in the conduct of a defense in a rational manner as a
     result of a mental disorder and, if appropriate, whether or not treatment with antipsychotic
21   medication is medically appropriate for the defendant and whether antipsychotic medication is
     likely to restore the defendant to mental competence. The thrust of Penal Code §§ 1367, 1368
22   and 1369 is to prevent the prosecution and possible confinement of a person who is incompetent
     to properly defend himself. People v. Rojas, 118 Cal. App. 3d 278, 285 (1981). A defendant,
23   however, is presumed to be competent and has the burden of showing incompetence by a
     preponderance of the evidence. (Id.) See also People v. Rells, 22 Cal. 4th 860, 866 (2000); Cal.
24   Penal Code § 1369(f). However, if the court has doubts about a defendant’s competence and the
     defendant does not seek a competency determination, the court must appoint two psychiatrists or
25   psychologists to examine the defendant, one named by the prosecution and one by the defense.
     See Faulks v. Castro, No. C995086 WHAPR, 2003 WL 22749075, * 8 (N.D. Cal. Nov. 14,
26   2003).

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 1   52, 58-59 (1985); Strickland v. Washington, 466 U.S. 668, 688 (1984). Petitioner has failed to

 2   make a showing meeting this standard here.

 3                   Even assuming arguendo that but for counsel’s alleged errors, petitioner would

 4   not have plead no contest and would have instead insisted on going to trial, petitioner’s claim

 5   still lacks no merit. In order for petitioner to be entitled to habeas relief, his trial counsel’s

 6   advice must have fallen below an objective standard of reasonableness. See Hill, 474 U.S. at 56;

 7   Strickland, 466 U.S. at 688; Tollett, 411 U.S. at 267; McMann v. Richardson, 397 U.S. 759, 774

 8   (1970) (a petitioner must show a “serious dereliction” by his attorney to demonstrate that a guilty

 9   plea was not a knowing and intelligent act); Perez v. Rosario, 459 F.3d 943, 946 (9th Cir. 2006)

10   (“Perez must show that his prior counsel’s advice during the plea bargaining process ‘fell below

11   an objective standard of reasonableness.’”) Here, both counsel’s performance and his apparent

12   advice were objectively reasonable.

13                   Petitioner’s trial counsel indicated on the record that he had at one point in the

14   proceedings initiated a motion to trigger review of whether petitioner was competent to stand

15   trial which in turn led to petitioner being evaluated by two mental health professionals. (RT-II at

16   11.) Of course those psychiatric evaluations from Dr. Lancaster and Dr. Wuehler indicated that

17   petitioner was not only sane at the time the charged offenses were committed but was also

18   competent to stand trial. Counsel also stated on the record that based upon his own knowledge of

19   petitioner’s personal and mental history and the other facts of the case, that his professional

20   assessment was that a defense based upon petitioner’s “mental health problems” would not be

21   effective. (Id.) Finally, counsel indicated on the record in petitioner’s presence that he and his

22   client had compared the determinate term sentence being offered by the prosecution in the

23   proposed plea bargain to the potential for two life sentences that petitioner faced if convicted at

24   trial. (Id.) According to counsel, after considering the alternatives, petitioner had elected to

25   accept the plea bargain which was far more beneficial to petitioner than the original plea bargain

26   /////

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 1   offered by the prosecution and under which he would be eligible for parole upon completion of

 2   his term instead of facing an indeterminate term sentence. (Id. at 12.)

 3                  There is, of course, a “strong presumption that counsel’s performance falls within

 4   the ‘wide range of professional assistance.’” Kimmelman v. Morrison, 477 U.S. 365, 381 (1986)

 5   (quoting Strickland, 466 U.S. at 688-89). See also McMann, 397 U.S. at 771 (the voluntariness

 6   of the plea depends on whether counsel’s advice was “within the range of competence demanded

 7   of attorneys in criminal cases”). As summarized above, the record in this case establishes that

 8   petitioner’s counsel explored any defenses petitioner might have had, including those based on

 9   his mental state or condition. Counsel was aware of two psychiatric evaluations that had

10   concluded that petitioner was sane at the time the charged offense were committed and also

11   indicated that petitioner was then competent to assist in his own defense and to stand trial.

12   Counsel was also well-aware that if he proceeded to trial and was convicted, petitioner faced the

13   possibility of two life sentences. Counsel was able to convince the prosecution to improve on

14   their original plea offer and to offer a plea bargain under which petitioner would become eligible

15   for probation. This performance by petitioner’s trial counsel was reasonably competent and was

16   certainly within the range of competence demanded of attorneys in criminal cases. Therefore

17   petitioner is not entitled to relief with respect to his challenge to his plea on the grounds of

18   ineffective assistance of counsel.

19          2. Failure to “Personally” Take Voluntary and Intelligent Waiver of Right to Trial

20                  Next, petitioner claims that his constitutional rights were violated when the trial

21   court failed to “personally” take a waiver of his “fundamental” rights prior to accepting his no

22   contest plea. (Pet. at 5(c).) Petitioner has never clearly identified how the trial court should

23   have, in his opinion, “personally” taken his waiver. Nor has petitioner cited any authority in

24   support of this claim that would assist in interpreting it. However, the undersigned infers that

25   petitioner equates the court’s “personal” taking of a waiver of constitutional rights with the

26   enumeration of specific constitutional rights by the trial court on the record in open court. (Id at

                                                       12
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 1   5(c), 5(d).) A failure by the trial court to “personally” take a waiver of constitutional rights in

 2   connection with a plea, according to petitioner, makes a voluntary and intelligent no contest plea

 3   impossible. Id.

 4                  A guilty plea must be knowing, intelligent and voluntary. Brady v. United States,

 5   397 U.S. 742, 748 (1970); Boykin v. Alabama, 395 U.S. 238, 242 (1969).6 "The voluntariness of

 6   [a petitioner's] guilty plea can be determined only by considering all of the relevant

 7   circumstances surrounding it." Brady, 397 F.2d at 749. In Blackledge v. Allison, 431 U.S. 63

 8   (1977), the Supreme Court addressed the presumption of verity to be given the record of plea

 9   proceeding when the plea is subsequently subject to a collateral challenge. While noting that the

10   defendant's representations at the time of his guilty plea are not "invariably insurmountable"

11   when challenging the voluntariness of that plea, the Supreme Court recognized that the

12   defendant's representations, as well as any findings made by the judge accepting the plea,

13   "constitute a formidable barrier in any subsequent collateral proceedings” and that “[s]olemn

14   declarations in open court carry a strong presumption of verity." Id. at 74. See also Marshall v.

15   Lonberger, 459 U.S. 422, 437 (1983) (a plea is presumed valid in habeas proceeding when the

16   pleading defendant was represented by counsel); Little v. Crawford, 449 F.3d 1075, 1081 (9th

17   Cir. 2006); Chizen v. Hunter, 809 F.2d 560, 561 (9th Cir. 1986).

18                  In Boykin, the United States Supreme Court held that the record must

19   affirmatively reflect that a criminal defendant's guilty plea is intelligent and voluntary. 395 U.S.

20   at 242-43. In that case, the judge taking the plea had asked no questions of the petitioner

21   concerning his guilty plea and the petitioner had not addressed the Court. The Supreme Court

22   concluded the record must reflect that a criminal defendant pleading guilty understands, and is

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                Petitioner pled no contest to the charges against him. Under California law, a no
     contest plea has the same effect as a plea of guilty in the context of the criminal proceedings.
25   See, e.g., People v. West, 3 Cal. 3d 595, 601 (1970). Accordingly, federal constitutional
     principles governing guilty pleas apply to petitioner's claim. Miller v. McCarthy, 607 F.2d 854,
26   856 (9th Cir. 1979).

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 1   voluntarily waiving, his constitutional rights to the privilege against compulsory self-

 2   incrimination, to trial by jury and to confront one's accusers and that the court would not presume

 3   such a waiver from a silent record. Id. In Brady, the Supreme Court cited the decision in Boykin

 4   while upholding a guilty plea as voluntary and intelligent even though the defendant had not been

 5   specifically advised of the three rights discussed in Boykin. The Supreme Court clarified the

 6   holding of Boykin by stating, “the new element added in Boykin was the requirement that the

 7   record must affirmatively disclose that a defendant who pleaded guilty entered his plea

 8   understandingly and voluntarily.” Brady, 397 U.S. at 747-48 n.4. Thus, it has subsequently been

 9   recognized by the courts that a specific articulation of the Boykin rights “is not the sine qua non

10   of a valid guilty plea.” Wilkins v. Erickson, 505 F.2d 761, 763 (9th Cir. 1974). See also Rincon

11   v. Roe, No. Civ. S-02-2647 RRB DAD P, 2007 WL 4126079 (E.D. Cal. Nov. 20, 2007). Rather,

12   if the record demonstrates that a guilty plea is knowing and voluntary, “no particular ritual or

13   showing on the record is required.” United States v. McWilliams, 730 F.2d 1218, 1223 (9th Cir.

14   1984).

15                  Upon a full review of the record in this case, the undersigned concludes that the

16   record reflects that petitioner’s plea was freely and voluntarily made, with knowledge of the

17   consequences thereof. There was an adequate colloquy between the court and petitioner at the

18   time he entered his plea. (RT at 6-11.) In this regard, the trial judge asked petitioner if he had

19   read and understood the plea form that he had completed and signed, if he had spoken with his

20   counsel, and if he was entering his plea freely and voluntarily. (Id. at 6-7.) The judge then went

21   through each of the charges with petitioner, asked him for his plea, and found him to have

22   voluntarily and intelligently entered his plea. (Id. at 8-10.) In addition, petitioner had initialed

23   and signed the written plea form used by the Butte County Superior Court that explained in detail

24   the terms of the plea agreement and the constitutional rights he was giving up by entering his no

25   contest plea. (CT at 140-44.) In particular, petitioner initialed the boxes that expressly

26   represented to the court that in entering his no contest pleas, he understood he was waiving his

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 1   constitutional rights to a jury trial, to confront all witnesses against him and to remain silent. (Id.

 2   at 141.) The plea form included the statement signed by petitioner’s attorney attesting to the fact

 3   that he had reviewed the form with petitioner, explained each of his rights to him, answered all of

 4   his questions with regard to his plea, discussed with petitioner the content, substance and

 5   meaning of each of the paragraphs initialed by petitioner, discussed the facts of the case, the

 6   consequences of the plea, the elements of the charged offenses and the possible defenses he

 7   might have with petitioner and that counsel concurred in the plea and with his client’s decision to

 8   waive his constitutional rights in that regard. (CT at 144.) Finally, the judge who accepted the

 9   plea signed the form, finding that petitioner had been informed of his constitutional rights and the

10   consequences of his pleas and that petitioner was knowingly, understandingly and intelligently

11   waiving his constitutional rights and freely and voluntarily entering his change of plea. (Id.)

12                  This record reflects that petitioner made a voluntary and intelligent choice to

13   plead no contest to the charges against him pursuant to a plea bargain that was favorable to him.

14   He voluntarily waived his rights to a jury trial, to confront his accusers and his right against

15   self-incrimination. See Boykin, 395 U.S. at 243. Further, petitioner had notice of the nature of

16   the charges against him. See Lonberger, 459 U.S. at 436 (in order for a plea to be voluntary, an

17   accused must receive notice of the nature of the charge against him, “the first and most

18   universally recognized requirement of due process"); Smith v. O'Grady, 312 U.S. 329, 334

19   (1941). This is sufficient for purposes of federal review. Lonberger, 459 U.S. at 436. Aside

20   from petitioner’s unsupported allegation that his attorney was “in a hurry” (Pet. at 5(d)), there is

21   no evidence that petitioner was threatened in any way in order to induce him to enter his no

22   contest pleas. See Jones v. Gomez, 66 F.3d 199, 204 (9th Cir. 1995) (“‘[c]onclusory allegations

23   which are not supported by a statement of specific facts do not warrant habeas relief’”); James v.

24   Borg, 24 F.3d 20, 26 (9th Cir. 1994). Petitioner has failed to demonstrate any special

25   circumstances that would allow for habeas relief. See Rodriguez v. Ricketts, 777 F.2d 527, 528

26   (9th Cir. 1985) (“We do not address a case where special circumstances exist, for example, a

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 1   defendant's specific protestation of innocence, which might impose on a state court the

 2   constitutional duty to make inquiry and to determine if there is a factual basis for the plea.”)

 3   Accordingly, petitioner is not entitled to habeas relief on his claim that his no contest pleas were

 4   not “personally” taken by the court in violation of his constitutional rights or that his pleas were

 5   not voluntarily and intelligently made.

 6            3. Ineffective Assistance of Appellate Counsel

 7                   Finally, petitioner claims that his appellate counsel rendered ineffective assistance

 8   by waiving potentially meritorious constitutional claims. (Pet. at 5(e).) However, petitioner has

 9   identified no issue that he believes his appellate counsel should have raised, nor does he offer any

10   facts to support this claim. Rather, petitioner makes only brief reference to the decisions in

11   Anders v. California, 386 U.S. 738 (1967) and Strickland v. Washington, 466 U.S. 668 (1984) in

12   presenting this claim. Petitioner’s failure to identify issues he believes should have been raised

13   on his behalf on appeal and his mere vague mention of the two decisions noted above do not

14   warrant the granting of habeas relief. See Jones, 66 F.3d at 204; James, 24 F.3d at 26.

15                                             CONCLUSION

16                   For all of the reasons set forth above, IT IS HEREBY RECOMMENDED that

17   petitioner's application for a writ of habeas corpus be denied.

18                   These findings and recommendations are submitted to the United States District

19   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty

20   days after being served with these findings and recommendations, any party may file written

21   objections with the court and serve a copy on all parties. Such a document should be captioned

22   “Objections to Magistrate Judge’s Findings and Recommendations.” Any reply to the objections

23   shall be served and filed within five days after service of the objections. The parties are advised

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 1   that failure to file objections within the specified time may waive the right to appeal the District

 2   Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

 3   DATED: March 4, 2009.

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